         Case 1:22-cv-00807-CJN Document 24-1 Filed 07/12/22 Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

KURT B. OLSEN,                                          )
                                                         )
                             Plaintiff,                  )
v.                                                       ) Case No. 1:22-cv-00807
                                                         )
NANCY PELOSI, et al.                                     )
                                                         )
                                 Defendants.             )
                                                         )


                              DECLARATION OF HEIDI STIRRUP
I, Heidi Stirrup, state the following as my declaration pursuant to 28 U.S.C. §1746:
       1.        The facts in this affidavit are based on my personal knowledge.

       2.        I am 66 years old, a citizen of the United States of America and a resident of the

Commonwealth of Virginia.

       3.        I was subpoenaed to appear before the January 6th Select Committee and did so on

April 25, 2022.

       4.        I was deposed by John F. Wood, Senior Investigative Counsel for the Select Committee

and of counsel to Vice Chair Liz Cheney. Also present in the deposition room for the Committee were the

following people: Joshua Roselman, Investigative Counsel, and Grant Saunders, Professional Staffer to

the Committee.

       5.        Prior to the deposition, I specifically requested access to the correspondence between

the Committee and the Department of Justice. Even though disclosure of these communications is

prescribed by 28 CFR § 16.22 (a), my request was denied. Under 28 CFR § 16.24 (c) and (d), the

Committee is required to give me a summary of the expected testimony that discloses the nature and

relevance of the information sought. I asked for this summary which was never given to me.




                                                    1
                                                                                                      B
          Case 1:22-cv-00807-CJN Document 24-1 Filed 07/12/22 Page 2 of 4




         6.      My testimony was that in late October of 2020, I transitioned from my liaison role at

Health and Human Services to serve as White House liaison at the Department of Justice in preparation

for President Trump’s second term in office.

         7.      During the deposition, Mr. Wood asked whether I had discussions about the

Department’s election related investigations with Department officials. I testified that I did have a

conversation with Chief of Staff and Senior Counselor to the Attorney General, William Levi, and the

Attorney General William Barr.

         8.      I testified that as the White House liaison, I was in an appointed position where I felt free

to express to my fellow political appointees about my concern about the highly irregular and potentially

fraudulent activity in the 2020 General Election.

         9.      I also testified about a conversation I had with Mr. Levi on Monday, November 9, 2020,

about what he or anyone else at the Department of Justice was doing to investigate the potential election

fraud.

         10.     As I explained to Mr. Wood who was questioning me, Mr. Levi told me he worked all

weekend on a memo, that he was clearly upset and extremely agitated about the amount of time he had to

devote over the weekend to questions concerning the election, and he complained that he had missed

spending time with family.

         11.     Mr. Levi, told me that the memo he wrote was intended to provide U.S. Attorneys with

the authority and procedures they could rely on to investigate claims of election fraud if such claims were

brought to them.

         12.     I asked Mr. Levi what investigative activity had taken place. He claimed at one point that

“they looked into every allegation that was brought forward and found no evidence of fraud.” He kept

referring me to his weekend memo. Again, this was just days after the election when accounts of highly

irregular activity were still coming out.




                                                      2
         Case 1:22-cv-00807-CJN Document 24-1 Filed 07/12/22 Page 3 of 4




        13.      While I was surprised and relieved to find out that the Department of Justice was at least

doing something, I was concerned because I had not seen any investigative activity by the top law

enforcement agency in the nation. I wanted to know specifically what was being done.

        14.      I also stated that Mr. Levi, sensing my frustration, asked whether I wanted to meet with

Attorney General Barr directly. I wanted to be reassured that the Department of Justice was doing

everything within its power to do so. I wanted to hear from the Attorney General himself.

        15.      I was given the opportunity to meet with Attorney General Barr (also on November 9th

and after my meeting with Mr. Levi.) I met with both Attorney General Barr and Mr. Levi.

        16.      Again, I testified that I wanted to know whether there was any activity other than the

creation of Mr. Levi’s weekend memo. I was continuously hearing accounts about all kinds of concerning

things which were said to occur in the November 2020 Election and wanted to know exactly what the

Department was doing to investigate them.

        17.      I testified that I asked Attorney General Barr what was being done about the highly

irregular election activities. When I specifically asked if the Department had done anything, Mr. Barr told

me “no.” He then told me, “There is no federal role in elections; they are run by the states. If fraud is

brought to a U.S. Attorney, they have the authority to investigate.” He assured me that no matter how

much alleged fraud was brought forward, no investigation would take less than two years and the election

would not be overturned.

        18.      I told him that I was not interested in overturning an election but rather was more

concerned about what was being done to investigate the fraud allegations. It was clear to me then, during

my deposition, and now that nothing was done.

        19.      The Committee also attempted to spring on me without any warning, a reporter’s account

in a book of what happened at the meeting which was apparently leaked by one of Attorney General

Barr’s secretaries or staff. This reporter, Jonathan Karl, never even spoke to me and the characterizations

in his book were simply not true.



                                                      3
        Case 1:22-cv-00807-CJN Document 24-1 Filed 07/12/22 Page 4 of 4




       I swear and certify under penalty of perjury that the foregoing statements are true and

correct to the best of my knowledge.


                                                  Heidi H           Digitally signed by Heidi H Stirrup
                                                                    DN: cn=Heidi H Stirrup, o, ou,
                                                                    email=votestirrup@comcast.net,

                                                  Stirrup           c=US
                                                                    Date: 2022.07.11 12:37:39 -04'00'

Dated: July 9, 2022                        ________________________________
                                                       Heidi Stirrup




                                              4
